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UN|TED STATES DlSTR|CT COURT
CENTRAL DlSTR|CT OF CAL|FORN|A

CASE SUMMARY

\:>

Case Number
U.S.A. v. Asbury Environrnentai$ervices, inc.
[] indictment information

§§§§ bmi§§§§?

Defendant Number On|y defendant

Year of Birth Corporation

lnvestigative agency (FBl, DEA, etc.) USEPA-C|D

NOTE: All items are to be completed. information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE

a. Offense charged as as
Class A |\/iisdemeanor
|:] C|ass B l\/lisdemeanor

b. Date of Offense 10/7/10
c. County in vvhich first offense occurred

|:| i\/linorOffense |:] Petty Offense
[:i Ciass C l\/lisdemeanor |:] Felony

 

Los Angeles
d. The crimes charged are alleged to have been committed in:

CHECK ALL THAT APPLY

Los Angeles
|:] Grange

|:| Riverside

g San Bernardino

|:] Ventura

|:] Santa Barbara
|:] San Luis Cbispo
ij Other

Citation of Offense 3311311(a), 1319(c)(1)(A);18:2

 

RELATED CASE

i-|as an indictment or information involving this defendant and
the same transaction or series of transactions been previously
l\lo |:] Yes

filed and dismissed before tria|.7

lF YES Case Number

 

Pursuant to Genera| Order 14-03, criminal cases may be related

ifa previously filed indictment or information and the present

cases

a. arise out of the same conspiracy, common scheme,
transaction, series oftransactions or events; or

b. involve one or more defendants in common, and Wou|d
entail substantial duplication of|abor in pretrial, trial or
sentencing proceedings if heard by differentjudges.

Re|ated case(s), if any: MUST MATCH NOT|CE OF RELATED

CASE

 

 

 

 

 

 

 

 

 

 

PREV|OUSLY F|LED COMPLA|NT jj 0
h c)r' w
. mm C'.II.?
A complaint Was previously filed on: N/K 511 5
t _ . _ c::r
Case Number § §\z:% c“'>_
L/`>i“_'. wi
Charging R;c §,j_c_: i §
g§¢_,c. w | ;
c m
The complaint |:| is istiil pending E m
3 w ca _' :
i:l Was dismissed on: fcc_§ ,;°`
PREV|OUS COUNSEL "
Was defendant previously represented? NO [:] Yes
|F YES, provide, Name:
Phone Number:
COMPLEX CASE
Are there 8 or more defendants in the |ndictment/lnformation?
[:| Yes* No

Wii| more than 12 days be required to present government's
evidence in the case-in~chief?

i:l Yes* l\lo

*AN OR|G|NAL AND 1 COPY (UNLESS ELECTRON|CALLY F|LED)
OF THE NOT|CE OF COMPLEX CASE l\/iUST BE F|LED AT THE
Tll\/lE `i};iéiE lND|CTi\/iEl\lT iS F|LED |F E|THER "YES" BOX lS

CHEC D.

Supersedinq Indictment/lnformation
is THls A NEW DEFENDANT? i:] Yes [:| No
This is the superseding charge, i.e. 1st, 2nd.

The superseding case Was previously filed on:

 

Case Number
The superseded case:

 

|:] is still pending before Judge/i\/iagistrate Judge

 

l:l Was previously dismissed on
Are there 8 or more defendants in the superseding case?
|:] Yes* |:| No

Wi|| more than 12 days be required to present government's
evidence in the case-in-chief?

[:[ Yes* ij No

 

 

CR-72 (06/14)

CASE SUMMARY

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UN|TED STATES DlSTR|CT COURT
CENTRAL DlSTR|CT OF CAL|FORN|A

CASE SUMMARY

Was a Notice of Compiex Case filed on the indictment or
|nformation?

i:] Yes i:i No

*AN ORiGiNAL AND 1 COPY OF THE NGTlCE OF COMPLEX CASE
i\/lUST BE F|LED ATTHE T|i\/iE THE SUPERSED|NG iNDlCTi\/iENT |5
F|LED lF ElTHER "YES" BOX lS CHECKED.

is an interpreter required? i:i YES i:i NO
iF YES, list language and/or dialect:

 

OTHER
i:i l\/lale i:i Fema|e
i___i U.S.Citizen i:i Alien

A|ias Name(s) Corporation

 

This defendant is charged in: Ai| counts

i:i Only counts:

 

i:i This defendant is designated as “i-iigh Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

i:i This defendant is designated as "Speciai Case" per
18 USC § 3166 (b)(7).
is defendant a juvenile? i:i Yes l\io

|F YES, should matter be sealed? i:i Y€S i:i NO
The area of substantive |avv that Will be involved in this case
includes:

i:i financial institution fraud ij public corruption
i:i tax offenses
i:i mail/Wire fraud

i:i immigration offenses

i:i government fraud
environmental issues
i:i narcotics offenses

[i violent crimes/firearms i:i corporate fraud

i:i Other

 

 

CUSTODY STATUS

Defendant is not in custody:

a. Date and time ofarrest on complaints
b. Posted bond at complaint level on:

in the amount of$

 

c. PSAsupervision? ij Yes [] NO

d. is on bailor release from another district:

 

Defendant is in custody:

i:i State i:i Federal

a. Piace of incarceration:

b. Name of |nstitution:

 

c. |f Federa|: U.S. i\/\arshai's Registration Number:

 

d_ i:i Soie|y on this charge. Date and time of arrest:

 

e. On another conviction: g Yes :i i\io
ii: YES; i:i grate ij Federal :i Writ of|ssue
f. Avvaiting trial on other charges:: i:i Yes m NO
|F YES: i:i State i:i Federal AND

Name ofCourt:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district

pursuant to F.R.Cr.P. 20 21 40

 

EXCLUDABLE TllVlE

Determinations as to excludable time prior to filing indictment/information EXPLA|N: None

 

Date 10/01/2015

/l<\

Signatiére §f As§isiant U.S. Attorney
JOSEPH . 5

Print Name

 

 

CR~72 (06/14)

CASE SUMMARY

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